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 IN THE U NITED STATES DISTRICT CO U RT FO R THE SO UTHERN
      D ISTR ICT O F FLO RIDA W EST PALM BEAC H DIVISIO N

                           CA SE NO .12-80364-CIV-m   R RA/RR AN NO N
 JO H N K O RM A N,              )
 Private A ttom ey G eneral,      )
                     Petitioner,  )                        FILEDdy
                                                                   fx - ''
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                                 )                                                D-C,
 AIJRORA LOAN SERVICES LLC;       )
 OFFICE OF CEO,M D PRES OF AUROM ;)                          MAï 21 2912
 AURORA BANK FSB;                 )                          s'reveN M LARIMQRE
                                                             s
                                                             c-kE9Kui nls'
                                                                         riCm
 M ERSCORP H OLDING S,INC;        )                            o.o:i'
                                                                    t
                                                                    i.-w.RB.
 M ORTGAGE ELECTRONIC             )
 REGISTRATION SYSTEM S INC;       )
 LEHG N BROTHERS HOLDINGS,INC; )
 LEHM AN BROTHERS BANK.FSB;       )
 LEHM AN BROTHERS,INC;             )
 LEHM AN BROTHERS BANCORP INC; )
 L EH M A N X S T R U ST 2006-11;
 STRU CTURED ASSET SEC URITIES
 CO RPO RATIO N;
 LA SA LLE BANK N .A.asTR USTEE;
 U .S.BANCO R P assuccessorTR USTEE;
 A SSO C IA TES LA e TITL E IN C ;
 TH EO DO RE SCH ULTZ,Individual;
 LA U R A M C C A N N ,lndividual;
 CYN TH IA W ALLACE,Individual;
 JO A I
      N N R E IN ,lndividual;
 LA W O FFIC E O F D A W D J.STER N P.A .;
 D A V ID JA M E S STE R N ,Esquire;
 K AR O L S.PIE R C E,E squire;
 CA SSANDM R AC INE-RIG AUD,Esquire;
 M ISTY BA R N E S,Esquire;
 D A R LIN E D IE TZ,N otary;
 JO H N D O E 1 - 100;
 JA N E D O E 1 - 100;
                               Defendants.    )
                                              /
Case 9:12-cv-80364-KAM Document 24 Entered on FLSD Docket 05/01/2012 Page 2 of 13




          M O TIO N TO DRO P M RTY DEFENDA NT RU LE 21

             CO M ES NO W ,the Petitioner,m ove the C oud to drop party
 Defendant,LEHMA N BROTHERS INC .,LEHM AN BROTHERS BA NK FSB,
 LEH MA N BROTHERS HO LDING S INC ,LEHM AN BRO THERS BA NCO RP
 INC and STRUCTU RED ASSET SEC URITIES CO R PO RATIO N,aIIentities
 in custodia Iegis,underBankruptcy proted ion,Title 11,United States Code.

             FederalRule ofCivilProcedure (''Fed.R.Civ.P.'')Rule 21
 perm its the Coud to drop a pady,as a misjoinder.September19th
 2008,an O rderCom m encing Liquidation ofLEHMA N BROTHERS INC
 (1'LBI'')was entered bythe United States DistrictCoud notifying alI
  personsandentitiesthatthe automaticstayprovisionsof11U.S.C.j
 362(a)operate as a stay of''...commencementorcontinuation...ofa
 judicial,administrative orotherproceeding againstLBI...''fudhermore,

             111.O RDERED thatalIpersons and entities are notified
 that,subjectto the otherprovisions of11 U.S.C.:362,the
 automaticstay provisions of11 U.S.C.j362(a)operate as astay
 of:
         C.any actto obtain possession ofpropeo ofthe estate
 orpropeo from the estate;see ''ExhibitAB,''page 4,hereto aoached
 and incorporated herein by reference.


             ltis LBITrustee's position thatthis instantCom plaintis a
 violation ofthe Autom atic Stay;see ''ExhibitAB''
    Case 9:12-cv-80364-KAM Document 24 Entered on FLSD Docket 05/01/2012 Page 3 of 13




W HER EFO RE,based on the foregoing,Petitionerrespectfully requests the
     Coud,pursuantto Fed.R.CiV.P.Rule 21,drop pady DefendantLEHMA N
     BROTHERS INC ,LEHMA N BROTHERS BAN K FSB,LEHM AN
     BROTH ERS HO LD ING S INC ,LEHM AN BRO THERS BANCO RP INC and
     STRUCTURED A SSET SECUR ITIES CO RPO RATIO N,aIIentities under
     Bankruptcy protection.
     Respecfully subm ioed'
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     DATED' this 1Stday ofM ay 2012.                  ..
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                                                   JO H N KO RMAN
                                               Private Aoorney G eneral
                                                   934 SW 21stW ay
                                               Boca Raton Florida 33486
                                                   (561)393-0773
                                              kormanzool@ comcast.net


                         C ERTIFICATE O F SERVIC E
TH E UNDERSIG NED HEREBY C ERTIFIES thata true and correctcopy
     hereof,M otion to D rop Party Defendant,is to be fo- arded to;
     Sarah Loom is C ave ofHughes H ubbard & Reed LLP,counselto
     Jam es W .G iddens,as Trustee forthe Liquidation ofthe business of
     Lehm an Brothers Inc.,O ne Battery Park Plaza,New York,New York
     10004-1482 via e-mail;cave@ hugheshubbard.com,onthis 1Stdayof
     M ay 2012.                                                               .
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    Case 9:12-cv-80364-KAM Document 24 Entered on FLSD Docket 05/01/2012 Page 4 of 13
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& gK                                                                                  OneBaxezyPukPlm
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H ubbard                                                                            Tdephone 21M 37.6000
                                                                                         F= 212.4224726
                                                                                        he hubbe com
                                                                                          SamKIXG C-
                                                                                    DitectDh1:212-837-6559
                                                                                    cave@hul eshubbe .
                                                                                                     com
                                                April27,2012


   FEDERAL EU RESS
   Jolm Korman
   934 SW 21stW ay
   Boca Ratom FL 33486

             Re:JohnKormanv.Aurom LoanServices,LLC,etal.(C%eNo.12-CV-
                8O3G -M ARRA/RRANNONI
   D eatM r.K orm e :

                 W earecolmselto Jam esW .Giddens!asTrusteefortheLiquidntion oftlle
   BusinwssnfLehmanBrotherslnc.CLBl'')!
                                      .W earem receiptoftheComplaintdatedApril9,
   2012,Gledby PlaintiF lphn Kormlm intheUnited StatesDiM ctCoizrtforthe Southem Die ct
   ofFlorida,CaseNo.12-CV-80364-M ARRAm 1G NNON .            '

                Pltu- beadvisedthatLBIhasbTnplanzx.
                                                  dbytheSecuritieshvestorProtection
   Corporation(GSPC'')intoaliquidaGonyroceMmgpursllnnttotheSecue esInvestorProtecuon
   Act(ç$SlPA'3,15U.S.C.j78nnnetseq.m thecasescapionedSecuritiesInvestorProtection
   Corporationv.LehmanBrothersfar.,CaseNo.08-CN -8119(GEQ (S.D.N.Y.)andInre
   LehmanBrotherslnc.,Adv.Proc.No.08-01420(JM P)(Bnnkm.S.D.N.Y.)ltheGSPA
   Przvw
     . ,hvllngs''l.
                 ()nSeptemberl9,200é.anOrderCommencingLiquidation(theRLBI
   Liquidadon Order'')wasenferezlbytheUnited StatesDisG ctCourtnotifyingallpersonsand
   entitiesthattheautomaicstayprovisionsof11U.S.C.93624a)operateàsastayoftithe
   qommencementorcone uatiow includingtheisslmnceoremplom entofprocess,ofajuicial,
         .                                                            '                     '
   ndmlnlskativeorotherproceee gagainstLBlthatwmsorcould havebeen com menced before
   the com m encem entofthisprnr,e ing,orto recovera clnlm agninntLBIthatarose beforelhe
   commencementofthisproceeding''(theRAutomaticStay'').A,copyoftheLBILiquidation
   Orderisenclosed.

                ItistheTrustee'sposition thatthe Com plaintconstim tesaviolaéon ofthe
   Autom adcStay.Accordingly,bmsed on the foregoing,we suggestthatato avoid a determination
   thataviolaEon oftheAutom afcStay hasoccurred,youwithdraw theComplaintasagainstLBI.
   tntheeventthatyou donotwithdraw tEeComple tastoLBI,wearepreparedto S1eaNotice
   ofBnnkmlptcy and mlaccom pM yingProm sed OrderofStaywiththeCourt,and wemay seek
   costs,including the resulting costs the Trustee m ay inctm and other sancionsfora willful
   violadon oftheAutomaticStay.
                                   EXHIBIT AB,page 1 of 10
    NewYork . Wae       .D.C. . lat-e     . Muvnl . J- Gty . Knn- Cky . M             . lbkyo
 Case 9:12-cv-80364-KAM Document 24 Entered on FLSD Docket 05/01/2012 Page 5 of 13




Jolm Korm an
April27,2012                                                                             2

               W e lèok forward to hemringfrom you,on orG fore M ay4,2012,thatyou have
wiIIïIIKaM thisacdon asagninntLBI.Pleasedonolhesitateto contad m ew1t11any questions
!egarding tbism atter.             '

                                            Very truly yours,

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Enclosure
SLC/dY




                              EXHIBIT AB,page 2 of 10

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    Case 9:12-cv-80364-KAM Document 24 Entered on FLSD Docket 05/01/2012 Page 6 of 13




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    SolITHERN DISTRIG 0F NEW YORK                                     8119-
                                                                          4          l
    SECURITIES O  STOR PROTECTION
    CORPORATION ,                             CivilAçtionNo.08--
                  Phinum Appëcan:                              USX SDNY
           V.
                                                               m    M PA T
                                                               ELEW RONICA LLY FlX
    LEHM AN BROM        RS M    .                              =   #:
                  Dd enda t

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           On theComplaintandApplication oftheSœ uritieslnvestorProtecûon Co> e on

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    InvestorPmtectionAd of1970,as= endedCSlPA'').15U.S.C.j78- etsm .
                  II.    ORDERED tM tpurs- t* 15U.S.C.9784* X3).J= esW .Giddensis
.   apm inte Tv tx tthe$TM *'')fortheliquiA ionofthebusin- ofLBIw11 a11theduties
    e m e rsofat- eeaspr- ribed in SP & andle law 5rm ofHughesHubhe & QY LLP
    isappointe coun-lfortheTn.e- .n eTruxx + a1151.asdelltyboM sausfaœ ryto+*
    Courtintheamountof$Iœ ,000.œ .




        n lRLBILiquio iœ Ordr




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              =
                                    EXHIBIT AB,page 3 of 10
Case 9:12-cv-80364-KAM Document 24 Entered on FLSD Docket 05/01/2012 Page 7 of 13


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              111. ORDERED * allv onsOdentxesarenov edtbatsubjed tole
otherpmvisionsof11U.S.C.9362,Geamomsh-cstayprovisionsof11U.S.C.936Xa)omrak
asasuy of:

              A.   % commencem entorcontinuation.im ludlngtheiemmnc:oremplom vnt

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              B.   leenfomementagainstLB1oragainstproperty oftheestateofa

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                   R y ad to ohlsln m s= sion ofpro- y oftheestateorpro>      from the
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              D.   N yacttocmate,M u orO forceR yliO agm'n- prom o of% estate;
              E.   any act> c= k,perfœ torenforceagainstpro- e ofLBIR y no tothe
                   e M tthatsuch lien secuv acle thatr sebefom thecommenœment
                   ofthispm cœ ding;

              F.   R y actto* 11< a = sorv overaclaim kginstLBIthat. ox k fore
                   thecomm encementofthisprqce ng;
              0.   lesetof ofR y debtowingto LBItbateoseY fox thecommenœ mœ t

                   ofQusproçe ingaginstanyd8m a> tLBI;and
              H.   the comm enx mentorcontine on ofapw<eedlngV fo!etheUnited
                   SGtesTax Coud conp- lng LB1'stax liability for ataxablem riod the

                   Bankm pky CM    m aydl- lne.



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Case 9:12-cv-80364-KAM Document 24 Entered on FLSD Docket 05/01/2012 Page 8 of 13


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                   1V. ORDERED O tallm> nsRdenûe aa stayedyenjoingde e                 ind
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selling,pledging,assigningoroe        sedlsposgng of,wli drawing orinterfering with R ya ets
orpm m rty oa ed,cona lle orinQ< m sseaionofLBI,incle ingbutnotlimikdtothtl oks
andv ordsofLBI,e cuAnmc 'se uritiesR d creditbnlnncessexœ ptforl epu> x of
esecting m ss- ionR d conkolofsaid propeo byleTm *- ,
                   V.    ORDERED O tp= uantto 15U.S.C.û78œe )(2)(B)(i),O ypending
bn..G .ptcy,mortgageformclos= ,equityreceiv= hlporotherproz- dlngto rx rgania ,

 o nwwrveorliquidateLBIoritspmperty R dR y othersuitagainstR yv dvc,co=             atoror
M te eofLBIcritspD peo ,isstye .
                   W . ORDERED :11*1pursua tto l5U.S.C.jû7#eee )(2)(B)(ii)aM (iii),and
 notwhhm ndingieprovlslonsof11U.S.C.993621)and553,exœpta:oleM scpmvle din
 thisOrder,a11m oonsandentitiosax siyed,enjoinH R dre ainedforae odoftwenty-one
 (21)days,orsuchoO rûm:> maysub-              tlk% ode by% Co> orR ye erxM
 havingcomm kntjurisdicionofthispmee ding.X m enforcing liensorpld gesagm'n- the
 property ofLBIR d X m exex ising O y Hghtofxtoë wilout5- v eiving th@e t*n
 consentofSIPC and tàe Tn.e- .

                   VI1. ORDERED thatpll- mntto 15U.S.C.j78e< b)(2)(CXii),R d
 notwithstanding15U.S.C.j7#e        )@)(C)(i),a11p= onaRJentitiœ = s'œye forape * of
 twenty-one(21)days,orsuchothertimeasmaysubs- entlybeordee bythisCoM orany
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 contmctsorag eem ents,securitiessold byLBIunderarepurcbn- am eem O t.prsecuritieslent



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             C:7                   EXHIBIT AB,page 5 of 10
Case 9:12-cv-80364-KAM Document 24 Entered on FLSD Docket 05/01/2012 Page 9 of 13


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underasecuritieslx dinga- ment,withoutfl- o ivingthee ttenconsentofSIPC and the
Tnwtee.

               V111. ORDEM D tH ttbeA yssetfo% in paragraphsthree- six sM lnotapply
to*

               A.    anys'uit,acoonorpmcœdingbmughtor* a broul tbyQteUnited
                     Sœ esSecuritiesandExçhangeCommissionCfommissionD,èe
                     Comme ityFut> sTe lngCommlssionCCFTCD,orRyxlf-
                     regulatou orgnnix tion ofwhich LBIisnow a m em berorwasa m em% r
                     w hhin i ep- six m oni s;or

               B.    theexemiseofacon- rttnnlrightofacreditortoliquizh-,tM ninxte,or

                     acceleratea sœ urioesconee t 00= * 1 con- ,fo*        contract
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                     losef- saa desnedin 11U.S.C.9jl01.741,and761,* o> tornd
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                     orto fov loseon R y ce collate pledgedbyLBI,whetherornG w11
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               C.    theexercix ofacone tualrightof= y sx uHti> cle ng agencyo
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                     976144)9or




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Case 9:12-cv-80364-KAM Document 24 Entered on FLSD Docket 05/01/2012 Page 10 of 13


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              D.   theexemix ofacontraçtualrightofany stookbrokerortlnnnclal

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              E.   tbm exexiseofa coilrnnhmlrightofany e%v ''pe cipant asdesne in
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 603%   7.=                     EXHIBIT AB,page 7 of 10
Case 9:12-cv-80364-KAM Document 24 Entered on FLSD Docket 05/01/2012 Page 11 of 13


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              0.   theexerciseofaconfoet.mlright,assœ hterm is..* in 11U.S.C.9555,
                   byam rxn(orsuçhN son'sV ent)inrespxtofnM leiiestv w:D sold
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              H.   th:exerçiseof:conlene mlrighty% >çht- is..-zlin 11U.S.C.9555,
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                   derivaivesole- ngorge zation;or

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         :*                   EXHIBIT AB,page 8 of 10
Case 9:12-cv-80364-KAM Document 24 Entered on FLSD Docket 05/01/2012 Page 12 of 13




              K.    any kansferordeliveryto axcuritlesclee ngagency ordedvatlves

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                    inA ctio> givO by suchcle ng agency orderivativc dearing

                    cq e gation,ofœ h,v ue es,oroierpm m o ofLBIheld by such
                    NMVord- sitorysubjecttothelne nctionsofsuchclenn'ngagencyor
                    derivativesdee ngorg= ia uon O d cons4itue gamc gin N yment>

                    defmedin 11U.S.C.j741(5);or
              IX.   ORDERED that1% stayssetforth in -         p% three- seven a% ve shall

 notapply to 1: exemise ofany rightss- ised in Secuons3621X6),3621)43,362(b)41W,
 362*X27),555,556,559,560 and/or561oftheBe           te Codeby Ba laysCaple lnc.or
 any e llteie- f(oru y agentofB= laysCapitalInc.orRy e liatelereog,induding
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 78eee@X2)(CXii),with resw ctto O y e nœ tion (orR y evt- e n,Rsipzment novation or
 rolloverofsuch Y nsaction)entee into on orpriorto theearlierof(i)consummstionofthe
 txna nllonscontemplated by le Assd Purchax Agreementa>1.2 Septema r 16,2008 among
 B= laysCapiY Inc.,Lehmnn Brothers Inc..Lebmlm Brol ersHoldngsInc.O d LB 745 LLC

 and(ii)Sept= er24.2008:
              X.    ORDFRND thatpxlmxmnt* 11U.S.C.9721,theSIPA Tn4em is
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 603*   7.=               EXHIBIT AB,page 9 of 10
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